Filed 8/23/24 In re A.M. CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE

 In re A.M., et al., Persons Coming
 Under Juvenile Court Law.                                           B326476
 _______________________________
 LOS ANGELES COUNTY                                                  (Los Angeles County Super.
 DEPARTMENT OF CHILDREN                                               Ct. No. 22CCJP00389A-C,
 AND FAMILY SERVICES,                                                 E)

           Plaintiff and Respondent,

           v.

 M.M.,

           Defendant and Appellant.




      APPEAL from orders of the Superior Court of Los Angeles
County, Cathy Ostiller, Judge. Dismissed in part, affirmed in
part, and reversed in part.
      Sean Angele Burleigh, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Dawyn R. Harrison, County Counsel, Kim Nemoy,
Assistant County Counsel, and Brian Mahler, Deputy County
Counsel, for Plaintiff and Respondent.
                         _______________________

      M.M. (father) appeals from the juvenile court’s detention
orders, and its dispositional orders removing his children from
his custody and requiring him to participate in anger
management classes. We dismiss the appeal as to the detention
orders as moot and affirm the dispositional orders removing the
children. Because the juvenile court did not properly exercise its
discretion when it ordered father to attend anger management at
the disposition hearing, we reverse that aspect of the order.
         FACTS AND PROCEDURAL BACKGROUND
   I.     Facts
      Mother and father are from Guatemala, where they met
before moving to the United States in 2006. They have been
married since 2017, and speak only Spanish. They have four
children together, Angel (born April 2008), Ashley (born October
2011), Angela (born July 2015), and Sharon (born August 2022).
Mother has one other child, Marvin (April 2021), who father
thought was his son until mother called that into doubt, and a
DNA test revealed he was not.1
      Mother is not employed, and father drives for ridesharing
services. Neither parent physically disciplines the children.
Mother has no criminal history, and father’s criminal history



1      Because father does not challenge any orders as they relate
to Marvin M., we dismiss the appeal insofar as it concerns this
child.




                                2
includes a DUI and driving without a license in 2008 and 2009.
Father has not drank alcohol since 2009.
       In 2007, father and mother got into an argument at a
family party, and father pushed mother, grabbed her hand, and
hurt her finger.
       Thirteen years later, in April 2020, father and mother got
into an argument in the car, and father slapped her with the back
of his hand in front of the children.
       In August 2021, father struck mother’s face with an open
hand in the children’s presence while the family was in Las
Vegas.
       In October 2021, mother was hospitalized for several days
because she had a psychotic episode and believed someone was
threatening to kill her. Mother was diagnosed with “psychotic
disorder,” that was “[m]ild” and “[r]esolving,” and was prescribed
a daily medication. Mother missed her follow-up mental health
appointment in November, and also missed the rescheduled
appointment in December.
       Also in October 2021, the family came to the attention of
the Los Angeles Department of Children and Family Services
(Department) after someone had received a report from mother
that father had hit her three to four times in the children’s
presence.
       In November 2021, mother told father she had been
involved in extramarital affairs and may be pregnant. Father
became doubtful as to whether he was Marvin’s biological father
and requested a DNA test. The same month, mother and father
got into an argument during which father dragged mother out of
the bathroom and threw her on the floor in the children’s




                                3
presence. In another incident, on the family’s drive home from
the beach, father slapped mother with an open hand on the chest.
        On November 24, 2021, father reported being “willing to
leave the home due to the ongoing disputes with mother.” The
same day, mother reported that she would like to separate from
father, but that she has nowhere to go. The Department
“provided mother with a resource packet and marked domestic
violence shelters” for mother and children. Angel, Ashley, and
Angela all reported feeling safe at home with their parents.
    II.    Procedural Background
        A. Section 300 petition
        On January 31, 2022, the Department filed a petition
under Welfare and Institutions Code section 300,2 subdivisions
(a) and (b), based on mother and father’s “history of engaging in
violent altercations in the children’s presence,” and mother’s
mental and emotional problems.
        In March 2022, father was “irritated and upset” about
mother’s extramarital affairs.
        At the adjudication hearing on April 5, 2022, the juvenile
court sustained the petition as to the counts related to the
parents’ violent altercations, but dismissed the count based on
mother’s mental and emotional problems, noting that the
hospitalization “appears [to have been] a one-time episode,” and
“the children report feeling safe with mother.”
        In May 2022, father reported being “worried about
[mother’s] mental health” because she is acting “weird,” “talking
to herself, making weird comments to the children,” and doing
“‘strange’ things like putting a pool with water on top [of] a bed.”

2       All statutory references are to the Welfare and Institutions
Code.




                                  4
Father reported mother was “not changing baby Marvin’s
diaper,” “has not showered in days,” and “is not meeting the
children[’s] basic needs.” When father asks her “why she is
acting this way,” mother “does not respond.”
       By June 2022, Angel, Ashley, and Angela had begun weekly
therapy sessions, and the therapist reported “no concerns” about
the children. Mother was attending monthly therapy sessions.
Father had enrolled in a domestic violence program for batterers.
       At the July 2022 disposition hearing, the court ordered
reunification services for mother and father, including domestic
violence support group, parenting, and individual counseling for
mother, and a 52-week domestic violence class, parenting classes,
and individual counseling for father. The Department requested
that the court include anger management classes in father’s case
plan, which the court declined to do. The court released Angel,
Ashley, and Angela to mother and father. After finding another
man, G.P., to be Marvin’s biological father, the court granted G.P.
monitored visitation with Marvin and continued the disposition
as to that child.
       In August 4, 2022, mother gave birth to Sharon. The social
worker at the hospital did “not have any concern about mother’s
mental health, ability to take care of the newborn[,] or mother’s
physical health.” The social worker reported mother “is bonding
appropriately with newborn and . . . is attentive to [the]
newborn[’s] needs.” Father and mother were arguing frequently
about mother’s infidelity. Angel, Ashley, and Angela reported
that mother was caring for Sharon, with father’s help.
       On August 29, 2022, father “reported he wants to separate
from mother as he cannot continue living with someone who was
unfaithful.” Father expressed doubt as to whether he was




                                5
Sharon’s father and requested a DNA test. Father also stated
that “he is willing to move in with mother so he can save money.”
       In September 2022, father reported that the family planned
to move out of their current home, and that he was not planning
on living with them but would help them financially. Father
reported “he cooks for the children, does the laundry, cleans the
house[,] and drives the children to school.” He denied any
ongoing domestic violence or arguments with mother.
       B. Section 300 Petition for Baby Sharon
       On September 9, 2022, the Department filed a petition
asking the juvenile court to exert jurisdiction over Sharon under
section 300, subdivisions (a), (b), and (j), based on mother and
father’s history of engaging in violent altercations in the
children’s presence.
       At the September 2022 initial hearing concerning Sharon,
the juvenile court ordered a DNA test for father and released
Sharon to father and mother.
       In October 2022, G.P. and his wife reported that Marvin
had a scratch on his face and that his feet were peeling and
blistered. The same month, father showed the family’s
preservation worker a video in which Sharon was under the crib
face down, explaining that he had found the baby like that while
mother was in the bathroom. The worker reported this to the
Department, and also reported that mother looked “absent during
the [family’s] sessions[,] has a blank stare,” and is “not able to
answer basic questions like how many children she has.” Mother
reported that father kicked her and the children out of the home
on October 13, 2022, and that they were staying with family.




                                6
       On October 17, 2022, the Department spoke with father,
who reported that he arrived home one day and asked mother to
help him clean the house, and that mother got upset and left with
the children. Father reported that mother “does[n’t] clean, cook,
or [properly] care for the children.” The Department spoke with
Ashley and Angela the same day, who reported that father had
arrived home and told mother and the children they had to leave
the house. Father was screaming at mother and threw a baby
bottle at mother’s leg as she fed Sharon on the bed. Mother was
also interviewed by the Department while she was staying with
Sharon at a motel. She reported that father had yelled at her
and the children to leave the home, but did not physically abuse
anyone. She reported that Angel was taking the bus to school,
and Angela and Ashley an Uber. The Department observed
“a very bad diaper rash” on Sharon when mother changed her
diaper.
       On October 27, 2022, father told the Department that he
picked mother and the children up from the motel after Ashley
texted him asking to return home because mother was acting
“bizarre.” Ashley told father that mother was talking to herself,
staring at walls, and not feeding the children. When father went
to the motel, he asked mother to feed Sharon, but she refused.
Father woke Ashley up to make Sharon a bottle, but Sharon
would not take the bottle. After two or three hours, Ashley forced
mother to breastfeed Sharon by placing Sharon on mother.
       In late October, the Department visited the family at the
home, and asked mother why she had not gone to the Mission
Rescue Shelter. Mother responded that she called and was told
there were no beds available. The Department reminded mother
that her application had been accepted and that the shelter had




                                7
told the Department “that the family could arrive at any time.”
The Department observed Sharon cry nonstop for 25 minutes
without mother attending to her. The Department asked mother
to feed Sharon, and mother responded that she did not have
enough milk yet. Father explained that Sharon “cries a lot,” and
mother “just lets her cry.” Father explained “he needs to go to
work to pay bills and he cannot stay at the house . . . to
supervise” mother. Father reported feeling remorse for sending
the children out of the home, and stated that he cares about the
children and was worried about mother’s mental condition. He
expressed willingness to continue paying rent until mother found
a shelter or affordable housing.
       On November 4, 2022, the juvenile court granted the
Department’s removal request, ordering the children removed
from mother and father’s custody.
       On November 8, 2022, the children were removed from the
family home. Angel was placed with maternal grandmother;
Ashley and Angela with a nonrelative caretaker; Marvin with his
biological father; and Sharon with another nonrelative caretaker.
Angel reported not wanting to go to foster care, and Ashley stated
her desire to remain with father, despite not feeling safe with
mother.
       C. Subsequent Petitions Under Sections 387 and 342
       On November 10, 2022, the Department filed a petition
under section 387 on behalf of Angel, Ashley, and Angela,
alleging that mother failed to comply with the juvenile court’s
orders that she participate actively in individual counseling and
family preservation services and enroll in a domestic violence
support group. The Department also filed a section 342 petition
on behalf of Angel, Ashley, Angela, and Marvin, alleging that




                                8
father threw a baby bottle at mother’s leg in October and parents
continued to engage in verbal altercations; that mother has
mental and emotional problems, had been talking to herself, and
failed to provide food for the children; father knew of mother’s
problems and failed to protect the children from mother; Marvin
had been left alone without supervision for extended periods of
time; and both parents left Sharon alone for extended periods,
resulting in Sharon being found face down under a crib.
       At the detention hearing on November 14, 2022, counsel for
minors requested that the children be released to father with a
safety plan, including “frequent and unannounced home visits
and that mother not be in the home.” Counsel urged that
“Angela and Ashley . . . do feel safe with their father,” and “want
to live with him.” The Department opposed the release of the
children to father, arguing that father “engaged in further
violence by throwing a bottle at the mother” while mother held
Sharon, and that he “engaged in threatening speech,” when he
said that mother had better leave the home because he did not
know what he was capable of. The juvenile court made “a prima
facie finding to detain the children from both parents,” noting
that although “the children feel safe with their father,” “it
appears [he] is unable to control his behavior.”
       On November 16, 2022, the Department filed an amended
section 300 petition as to Sharon, containing an additional count
based on mother’s “mental and emotional problems,” which
“render[ her] unable to provide regular care for” Sharon.
       D. Adjudication and Disposition on Subsequent
Petitions
       On January 19, 2023, the juvenile court convened the
jurisdiction and disposition hearing. It found that G.P. was the




                                 9
presumed father for Marvin. The court sustained the counts in
the section 342 petition, except for those based on allegations
that mother and father had left Marvin unattended for extended
periods of time. The court also sustained the 387 petition, which
was based on mother’s failure to enroll in domestic violence and
her failure to attend mental health appointments. Finally, the
court sustained the amended section 300 petition (which
concerned Sharon).
        The court removed the children from both parents, ordering
Angel, Ashley, Angel, and Sharon suitably placed, and releasing
Marvin to G.P. The court reasoned that removal “is appropriate
and necessary” because “there is a risk that there is still going to
be further domestic violence” given that mother and father “are
still living together.” The court ordered reunification services,
including “anger management,” based on the court’s mistaken
understanding “that that was a prior order of the court.” The
juvenile court ordered monitored visitation for parents, including
monitored visits between father and Marvin.
        Counsel for minors noted that the children are suitably
placed—Angel with maternal grandmother, Angela and Ashley in
a foster home, and Sharon in a different foster home. Counsel
then requested that the Department “place all of the children
together preferably with the maternal grandmother,” and the
court schedule a two-month follow-up hearing regarding
placement. The Department agreed that the children should be
placed together, but opposed a hearing and instead requested
that the court “order a CFT about this so we can sit down and
talk about who is going to go where.” The court scheduled a
progress hearing for March 23, 2023.
        Father filed a timely notice of appeal.




                                10
      On July 20, 2023, the juvenile court held the six-month
review hearing, at which it continued jurisdiction over Angel,
Ashley, Angela, and Sharon; found “by clear and convincing
evidence that return of the child[ren] to the physical custody” of
mother and father “would create a substantial risk of detriment
to the child”; found that parents’ progress towards “alleviating or
mitigating the causes necessitating placement” had been
substantial for father and not so for mother; and continued
reunification services for both parents.3
      On January 18, 2024, the juvenile court convened the 12-
month review hearing, at which it continued jurisdiction over
Angel, Angela, Ashley, and Sharon, and again found returning
the children to parental custody would be detrimental to the
children’s wellbeing.
                           DISCUSSION
      Father argues that insufficient evidence supports the
juvenile court’s removal orders at the detention and disposition
hearings, and that the juvenile court abused its discretion in
ordering father to take anger management classes.
I. Father’s Challenge to the Detention Orders is Moot
       We agree with the Department that father’s appeal is moot
with respect to the detention orders because “those orders were
superseded by the disposition orders and there is no effectual
relief” that can be provided. (In re Julien H. (2016) 3 Cal.App.5th
1084, 1088, fn. 7.) Accordingly, father’s appeal is dismissed as to
his challenges to the detention orders.




3     We grant the Department’s request for judicial notice of the
juvenile court’s July 2023 and January 2024 minute orders.




                                11
II. Dispositional Orders
       A. Substantial Evidence Supports the Orders
          Removing Sharon, Angel, Ashley, and Angela from
          Father’s Custody
       A juvenile court may not remove a child from the custody of
his parents unless it “finds by clear and convincing evidence” that
“[t]here is or would be a substantial danger to the physical
health, safety, protection, or physical or emotional well-being of
the [child] if [he or she] were returned home, and there are no
reasonable means by which the [child’s] physical health can be
protected without removing” him or her from the parents’
custody. (§ 361, subd. (c)(1).) The requirement of clear and
convincing evidence shows the “‘“‘bias of the controlling statute is
on family preservation, not removal.’”’” (In re S.F. (2023) 91
Cal.App.5th 696, 720; see also In re Hailey T. (2012) 212
Cal.App.4th 139, 146 [“The elevated burden of proof for
removal . . . at the disposition stage reflects the Legislature’s
recognition of the rights of parents to the care, custody and
management of their children, and further reflects an effort to
keep children in their homes where it is safe to do so”].)4
       “We review a dispositional order removing a child from a
parent for substantial evidence, ‘“keeping in mind that the trial
court was required to make its order based on the higher
standard of clear and convincing evidence.”’” (In re M.V. (2022)
78 Cal.App.5th 944, 960 (M.V.).) “‘Clear and convincing evidence
requires a high probability, such that the evidence is so clear as
to leave no substantial doubt.’” (Hailey T., supra, 212
Cal.App.4th at p. 146.)

4     Father’s observation that the focus of the removal statute is
family preservation is well taken.




                                12
       Here, the juvenile court removed the children from father’s
custody because the evidence showed he had multiple violent
outbursts against mother in the children’s presence, including
throwing a baby bottle at mother while she was feeding Sharon—
an incident which occurred after the commencement of these
dependency proceedings. Although father and mother’s marital
problems had escalated into violence, they continued to live
together, despite mother’s option to seek housing in a domestic
violence shelter. Moreover, father stated that he planned to
move out and still help support mother and children financially
but did not do so. Instead, father kicked both mother and
children out of the home, which undermines father’s position that
children could be safe in his custody so long as the Department
assisted the parents with living separately. While the children
were not themselves physically injured, the juvenile court could
reasonably find that they were at substantial risk of harm due to
the parents’ domestic violence and that there was no reasonable
means by which they could be protected without removal. (See,
e.g., In re T.V. (2013) 217 Cal.App.4th 126, 136-137.)
       Father argues that the record does not show “‘reasonable
efforts’” by the Department to ameliorate the risk by separating
the parents so that the parents’ domestic violence and mother’s
mental health issues no longer posed a risk of substantial danger
to the children. (See M.V., supra, 78 Cal.App.5th at p. 964 [the
Department has a duty to make “‘reasonable efforts’” “‘to prevent
or eliminate removal’”].) We disagree. The Department gave
mother domestic shelter information and connected her to a
shelter that was willing to accept her, but mother refused to go.
While perhaps the Department could have done more to facilitate
mother and father living separately, “reasonable efforts, like




                               13
reasonable services, need only be reasonable under the
circumstances, not perfect.” (In re H.E. (2008) 169 Cal.App.4th
710, 725.)
III. The Juvenile Court Did Not Exercise its Informed
    Discretion When it Ordered Anger Management
       “‘[A] discretionary order based on the application of
improper criteria or incorrect legal assumptions is not an exercise
of informed discretion and is subject to reversal even though
there may be substantial evidence to support that order.
[Citations.] If the record affirmatively shows the trial court
misunderstood the proper scope of its discretion, remand to the
trial court is required to permit [it] to exercise informed
discretion . . . .’” (Barriga v. 99 Cents Only Stores LLC (2020) 51
Cal.App.5th 299, 334, quoting F.T. v. L.J. (2011) 194 Cal.App.4th
1, 15-16.)
       Although substantial evidence would otherwise support the
juvenile court’s order that father attend anger management, the
record affirmatively shows that the court based its decision to
include anger management on its misunderstanding that it had
previously ordered him to participate in anger management.
(The court was misled by the Department’s erroneous statement
to that effect.) In fact, the court had specifically declined the
Department’s recommendation to order father to anger
management at the prior hearing. Because the court’s decision
was based on an erroneous assumption, it did not properly
exercise its discretion. We therefore remand to give it the
opportunity to do so.




                                14
                        DISPOSITION
     The dispositional orders are affirmed as to the children’s
removal, but reversed as to the requirement that father attend
anger management.



                                          LEE, J.*
WE CONCUR:




            BAKER, Acting P. J.




            KIM, J.





       Judge of the San Bernardino Superior Court, assigned by
the Chief Justice pursuant to article VI, section 6 of the
California Constitution.




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